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  O.      CONCLUSION AND PRAYER

          67.      Should the Court grant judgement creditor and third-party beneficiary Rippy Oil

  Company the right to intervene, Intervenor Rippy Oil Company will file a Memorandum of Law

  in support of its request that the Court grant its Motions to Dismiss.         In the alternative,

  Intervenor Rippy Oil Company respectfully requests that the Court abate or stay this case until

  resolution of the previously filed, parallel, and pending Texas state court actions are concluded.

  In the alternative, Intervenor Rippy Oil Company by its intervention seeks judgment against

  Defendant AIG for all relief requested. Further, Intervenor Rippy Oil Company seeks an award

  of reasonable and necessary attorneys' fees, as well as pre-judgment and post-judgment interest

  at the maximum rate allowed by law together with taxable court costs. Finally, Intervenor Rippy

  Oil Company requests such other and further relief, whether in law or equity to which it shows

  itself justly entitled.

                                               Respectfully submitted,

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                                      /s/ JAMES H. GIBSON
